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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 BERNADETTE WINANS
 as Administrator of the Estate of
 CARMELO WINANS, deceased                          CIVIL ACTION NO. 11-05138-JS
 and on behalf of
 Minor Plaintiffs
                      Plaintiffs

               v.

PO RICHARD NICOLETTI,
PO MATTHEW McCARTHY
           and
CITY OF PHILADELPIDA,
               Defendants



                             ORDER TO FILE UNDER SEAL

       AND NOW, this         /~~                            ,2017,itisherebyORDEREDand

DECREED that Minor Plaintiffs' Motion to Amend Order for Partial Distribution of Minors'

Settlement Proceeds, and any order thereupon, shall be FILED UNDER SEAL. 1

                                           BY THE COURT:




       1
         The motion contains the minors' namesand bank account information, and are not
readily amenable to redaction.
